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            5
                 Attorneys for:          Plaintiffs Wal-Mart Stores, Inc. and Wal-Mart Real Estate Business Trust
            6
            7                                    UNITED STATES DISTRICT COURT

            8                     EASTERN DISTRICT OF CALIFORNIA - FRESNO DIVISION

            9    WAL-MART STORES, INC., a Delaware                         Case No. F-04-5278 OWW DLB
                 corporation, and WAL-MART REAL
           10    ESTATE BUSINESS TRUST, a Delaware                         STIPULATION AND ORDER
                 statutory trust,                                          MODIFYING SCHEDULING
           11                                                              CONFERENCE ORDER;
                                   Plaintiffs,                             CONTINUING HEARING ON
           12                                                              DEFENDANTS’ MOTION FOR
                          v.                                               SUMMARY JUDGMENT
           13
                 CITY OF TURLOCK, TURLOCK CITY
           14    COUNCIL, and DOES 1 through 10,
                 inclusive,
           15
                                   Defendants.
           16
           17
           18                       IT IS HEREBY STIPULATED, by and between the parties to this action,

           19    through their attorneys of record, that the Scheduling Conference Order governing this action

           20    be amended as follows:

           21                       1.      The parties are ordered to complete all discovery on or before October

           22    17, 2005.

           23                       2.      The City of Turlock’s rebuttal expert disclosures will be made on or

           24    before September 5, 2005. Any supplemental expert disclosures under Rule 26(e) will be

           25    made on or before November 11, 2005.                 The parties are ordered to complete all expert

           26    discovery on or before January 27, 2006.

           27                       3.      Plaintiffs shall file their opposition to Defendants’ Motion for Summary

           28    Judgment on or before November 2, 2005.
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                 ____________________________________________________________________________________________________
                  STIPULATION AND [PROPOSED] ORDER MODIFYING SCHEDULING CONFERENCE ORDER; CONTINUING HEARING
                                          ON DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
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            1                      4.      Defendants shall file their reply in support of their Motion for Summary

            2    Judgment on or before December 2, 2005.

            3                      5.      The hearing on Defendants’ Motion for Summary Judgment shall be

            4    continued from August 29, 2005, until December 12, 2005, at 9:00 a.m. The hearing will be

            5    conducted before the Honorable Oliver W. Wanger, United States District Judge, in Courtroom

            6    2.

            7                      6.      All Non-Dispositive Pre-Trial Motions, including any discovery

            8    motions, will be filed on or before December 2, 2005, and heard on January 13, 2006, at 9:00

            9    a.m. before Magistrate Judge Dennis L. Beck in Courtroom 5.

           10                      7.      All Dispositive Pre-Trial Motions are to be filed no later than December

           11    19, 2005, and will be heard on January 30, 2006, at 10:00 a.m. before the Honorable Oliver W.

           12    Wanger, United States District Judge, in Courtroom 2.

           13                      8.      A Settlement Conference is scheduled for December 14, 2005, at 10:00

           14    a.m. in Courtroom 5 before the Honorable Dennis L. Beck, United States Magistrate Judge.

           15                      9.      Pre-Trial Conference Date. March 13, 2006, at 11:00 a.m. in Courtroom

           16    2 before the Honorable Oliver W. Wanger, United States District Judge.

           17                      10.     Trial Date. April 24, 2006, at the hour of 9:00 a.m. in Courtroom 2

           18    before the Honorable Oliver W. Wanger, United States District Judge for a bench trial.

           19                      11.     As noted in the Court’s March 1, 2005, Order Re Bifurcation of Issues

           20    for Discovery and Trial in this case, the above dates shall only apply to the liability phase of

           21    this proceeding. Also as noted in the March 1, 2005, Order, all discovery concerning damages

           22    and other relief shall be stayed pending a determination of the liability phase of this action.

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           24    ///

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           28    ///
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                   STIPULATION AND [PROPOSED] ORDER MODIFYING SCHEDULING CONFERENCE ORDER; CONTINUING HEARING
                                           ON DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
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            1                      12.     The parties reserve their right to seek further modification of the

            2    Scheduling Conference Order, if necessary.

            3    DATED: July _____, 2005.                       SAGASER, JONES & HAHESY
            4
            5                                                   By _____________________________________
                                                                   John P. Kinsey, Attorneys for Plaintiffs Wal-
            6                                                      Mart Stores, Inc. and Wal-Mart Real Estate
                                                                   Business Trust
            7
            8    DATED: July _____, 2005.                       JARVIS, FAY & DOPORTO LLP

            9
                                                                By _____________________________________
           10                                                      Benjamin Fay, Attorneys for Defendants the
                                                                   City of Turlock and the Turlock City Council
           11
           12
           13                      IT IS SO ORDERED.
                                                                /s/ OLIVER W. WANGER
           14
                 DATED: ___August 2____, 2005.
           15                                                             The Honorable Oliver W. Wanger

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                                          ON DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
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